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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

PERKINS COIE LLP,

                Plaintiff,                   Civil Action No. 1:25-cv-00716-BAH

      v.

U.S. DEPARTMENT OF JUSTICE,                  AMICUS CURIAE BRIEF OF 346
FEDERAL COMMUNICATIONS                       FORMER JUDGES IN SUPPORT OF
COMMISSION, OFFICE OF                        PLAINTIFF’S MOTION FOR
MANAGEMENT AND BUDGET, EQUAL                 SUMMARY JUDGMENT
EMPLOYMENT OPPORTUNITY
COMMISSION, OFFICE OF PERSONNEL
MANAGEMENT, GENERAL SERVICES
ADMINISTRATION, OFFICE OF THE
DIRECTOR OF NATIONAL
INTELLIGENCE, THE UNITED STATES OF
AMERICA, and in their official capacities,
PAMELA J. BONDI, BRENDAN CARR,
RUSSELL T. VOUGHT, ANDREA R.
LUCAS, CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

                Defendants.
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       Amici submit this brief to address the risk that Executive Order 14230 poses to the effective

administration of justice and to the rule of law.

                                         Interest of Amici

       Amici are the 346 former federal and state court judges whose names are listed in Exhibit

A. Amici have dedicated their working lives to the rule of law. They have extensive experience

with adjudication as a means of resolving disputes, and they know from experience that litigation

conducted by zealous and ethical advocates, and presided over by neutral and independent judges,

is an indispensable element of the rule of law. Amici’s views on political and social issues vary,

but they agree with the words of Chief Justice Roberts: judges “don’t work as Democrats or

Republicans.” 1

       Amici share an interest in ensuring both the substance and the appearance of justice in the

adjudication of disputes. This requires—always—preserving the freedom of lawyers to advocate

for their clients with candor and with zeal, thus providing judges with the complete legal and

factual record needed for fair adjudication. To the same end, amici share an interest in preserving

the discretion judges need to regulate the conduct of lawyers who appear before them.

       Amici believe that Executive Order 14230, captioned “Addressing Risks From Perkins

Coie LLP” (the “Order”), undermines the rule of law by threatening the independence of lawyers

and litigants to petition courts to redress their grievances. The Order thus undermines the

constitutional role of the courts as independent forums for adjudicating disputes. It also threatens

the ability of an independent judiciary to regulate the conduct of lawyers who appear in court.

       No party’s counsel authored this brief in whole or in part; no party or party’s counsel



1
 Adam Liptak, John Roberts, Leader of Supreme Court’s Conservative Majority, Fights
Perception That It Is Partisan, New York Times (Dec. 23, 2018),
https://www.nytimes.com/2018/12/23/us/politics/chief-justice-john-roberts-supreme-court.html.
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contributed money that was intended to fund preparing or submitting the brief; and no person—

other than the amici curiae or their counsel—contributed money that was intended to fund

preparing or submitting the brief. See D.D.C. Local Civil Rule 7(o)(5) (incorporating Fed. R. App.

P. 29(a)(4)).

                                             Argument

       The fundamental principles of just adjudication are simple and apply equally to allegations

made against a lawyer as to allegations in any other case: allegations must be supported by facts,

facts must be proved in a fair proceeding, and sanctions cannot precede fair adjudication. Any

other sequence is contrary to law and lacks both the substance and the appearance of justice. Amici

believe that the Order violates these principles. Amici hold this view for four reasons.

       A.       The Order Imposes Improper Political Restrictions on Access to the Courts.

       Under the Constitution, courts are indispensable forums for clients to petition for the

redress of grievances. As the Supreme Court held in National Association for Advancement of

Colored People v. Button, 371 U.S. 415, 429-30 (1963): “Groups which find themselves unable to

achieve their objectives through the ballot frequently turn to the courts. . . . [U]nder the conditions

of modern government, litigation may well be the sole practicable avenue open to a minority to

petition for redress of grievances.” Courts cannot discharge this function if lawyers face political

restrictions on arguments and theories that the government “finds unacceptable but which by their

nature are within the province of the courts to consider.” Legal Servs. Corp. v. Velazquez, 531 U.S.

533, 546 (2001).

       This is not a partisan principle. It applies equally to parties who seek adjudication on any

side of any issue. For courts and judges to fulfill their constitutional role, lawyers must be free to

represent their clients without fear of governmental retribution on political grounds.

       The text of the Order and the accompanying presidential statement demonstrate that the


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Order undermines the constitutional role of courts as a forum for petitioning for redress of

grievances. The Order explicitly cites Perkins Coie’s voting-related litigation as a basis for

punishing the firm for exercising its right to represent its clients, and an accompanying presidential

statement explains that the Order will seek to deny federal contracts to any firm that retains Perkins

Coie as a means of ensuring that “taxpayer dollars no longer go to contractors whose earnings

subsidize partisan lawsuits against the United States.” 2 This provision effectively punishes clients

as well as the firm. As with the unconstitutional restrictions on association and funding struck

down in Button and Velasquez, the Order threatens to chill the filing of cases and zealous advocacy

in cases that are filed. It thereby undermines the candor and robust advocacy on which judges must

rely in adjudicatory proceedings.

           The text of the Order could reasonably be read by clients as literally barring federal

courthouse doors to Perkins Coie lawyers and thus to clients represented by those lawyers. Section

Five of the Order instructs agency heads to provide guidance restricting Perkins Coie’s access to

federal government buildings when such access would “be inconsistent with the interests of the

United States.” The presidential statement accompanying the Order recites as partial justification

for the Order that “Perkins Coie LLP has filed lawsuits against the Trump Administration,

including one designed to reduce military readiness.” 3 Because the accompanying statement

appears to define both advocacy by Perkins Coie and “lawsuits against the Trump Administration”

as being inconsistent with the interests of the United States, the relevant text appears designed to

warn clients against retaining Perkins Coie and to warn both clients and other law firms that



2
 Fact Sheet: President Donald J. Trump Addresses Risks from Perkins Coie LLP, The White
House (Mar. 6, 2025), https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-
donald-j-trump-adresses-risks-from-perkins-coie-llp/.
3
    Id.


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bringing suits against the Trump administration may lead to punishment. 4

       B.      The Order Undermines the Professional Independence of Counsel.

       The Order is also inconsistent with the professional independence of counsel that is both

required by state professional conduct rules and is one of the principal achievements of the

American bar. 5 Just adjudication requires that the facts and law relevant to a dispute be presented

fully and with vigor to the court. The United States Supreme Court’s practice of appointing counsel

to defend a position relevant to a case when a party declines to do so illustrates the importance of

this point.6 Professional independence preserves the integrity of our adversarial system, which is

foundational to just and fair adjudication. It is how courts ascertain the truth.

       At the hearing on Plaintiff’s application for a temporary restraining order (“TRO”), the

Court correctly stated that the Order chills the vigorous advocacy on which courts depend. Our

experience confirms the Court’s conclusion. The judiciary needs and depends on lawyers and firms

willing to represent clients whose cases may be unpopular with an administration or the public.

Our adversarial system cannot work otherwise. The Court commended Perkins Coie’s counsel for

taking the case. 7 Amici concur in this sentiment. Clients, courts, and the rule of law itself need


4
  Section 5 is qualified by stating that agency heads must provide guidance “to the extent
permitted by law,” and it is possible that such guidance may eventually conclude that the First
Amendment is a law that contradicts the natural reading of the Order. Should such guidance
issue, however, it would only confirm the constitutional infirmity of the Order itself, without
dispelling the chilling effect of the Order.
5
  See, e.g., Cal. R. Pro. Conduct 2.1 (“In representing a client, a lawyer shall exercise
independent professional judgment and render candid advice.). The American Bar Association’s
Model Rule of Professional Conduct 2.1 states the same rule.
6
  See Amy Howe, Outside attorneys appointed to argue in two cases, SCOTUS blog (Jan. 28,
2025), available at: https://www.scotusblog.com/2025/01/outside-attorneys-appointed-to-argue-
in-two-cases/; Katherine Shaw, Friends of the Court: Evaluating the Supreme Court's Amicus
Invitations, 101 Cornell L. Rev. 1533 (2016),
http://scholarship.law.cornell.edu/clr/vol101/iss6/3.
7
  Michael S. Schmidt, Trump’s Revenge on Law Firms Seen as Undermining Justice System, New
York Times (Mar. 12, 2025), https://www.nytimes.com/2025/03/12/us/politics/trump-law-firms-


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firms willing to exercise such professional independence.

       We note with serious concern the government’s statement at the TRO argument that, under

the view of executive power embodied in the Order, the executive could issue a similar order aimed

at counsel for Perkins Coie, and the government’s statement that such an order would be immune

from judicial review. 8 A court cannot be confident that the facts and law relevant to a matter have

been fully presented if a firm must look over its shoulder in fear of becoming the target of punitive

action such as the Order. Firms willing to face such risk embody the highest ideals of the bar, but

that is not a risk any lawyer should face.

       C.      The Order Improperly Supplants Judicial Regulation of Litigation Conduct.

       In addition, the Order is inconsistent with judicial regulation of conduct before tribunals.

When the relevant conduct does not occur in open court before a judge, sanctions follow the basic

principles of adjudication: allegations must be based on facts, facts must be proved in a fair

proceeding, and sanctions cannot precede such adjudication.

       Sanctions for misconduct before a tribunal are almost invariably directed to responsible

lawyers, not entire firms. The rules of professional conduct are written to apply to lawyers rather




perkins-coie.html; Transcript of March 12, 2025 Hearing at 50, ECF No. 22 (“Tr.”) (“I already
have enormous respect for Williams & Connolly and an enormous respect for them taking this
case, when not every law firm in this city or this country would given the substance of this
executive order.”).
8
  Tr. at 48-49 (“THE COURT: They are very brave to take on the Perkins Coie matter. And they
could be next, with an executive order, because they’re representing Perkins Coie – the President
would have that power – to issue the next executive order that wouldn’t be called ‘Addressing Risk
From Perkins Coie LLP,’ it could be ‘Addressing Risks From Williams & Connolly’ – LLP LLC,
I am not sure – but that would be within the President’s power should he get annoyed by Williams
& Connolly’s defense of Perkins Coie, which the President believes, as stated in the Section 1
purpose of the executive order is a dishonest and dangerous law firm? . . . MR. MIZELLE: If he
made a finding that there was a national security risk with a particular law firm, then yes –”); id.
at 50.


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than firms. 9 This consideration is especially important when a sanction is imposed for past conduct

by attorneys no longer with a firm, as certain allegations in the Order appear to do.

         More generally, it is for courts, not parties or another branch of government, to assess the

merits of claims and the conduct of lawyers before a tribunal. The Order usurps the judicial

function by sanctioning Perkins Coie for conduct in past cases in which the president effectively

had an interest. A Presidential memorandum issued after the Order, which instructs the Attorney

General to review cases filed against the federal government in the past eight years and recommend

adverse action against lawyers or firms whose conduct the Attorney General finds wanting,

without regard to whether such concerns were presented to the relevant tribunal, confirms this

understanding of the Order. 10

         Candor to a tribunal and responsibility to the tribunal go hand in hand. Efforts to use

governmental power to bend lawyers to the political interests or views of an administration may

impair the candor on which judges rely and usurp judges’ role in regulating the conduct of lawyers

who appear before them. The adversarial system cannot function properly with such an incursion

into the judicial role.

         D.     The Order Promotes Hostility Towards Adjudication and Judicial Officers.

         Finally, amici are concerned that by undermining the credibility of adjudication as a lawful

means of resolving disputes the Order contributes to a general climate of hostility toward

adjudication and toward judicial officers, who are constitutionally bound to apply the law.

Contrary to the implication of the presidential statement accompanying the Order, the nation is not

undermined when claims are adjudicated in its courts. Parties dissatisfied with a ruling may appeal


9
 Order, In re: Jackson Walker, LLP, No. 4:24-mc-01523 (S.D. Tex. Sept. 20, 2024), ECF No. 9,
https://www.bloomberglaw.com/document/X4K5J2HAHKV8NKBOFU36E18U9FD.
10
     Preventing Abuses of the Legal System and the Federal Court – The White House.


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and seek to show by law and logic why they should prevail. If a party is right, no extrajudicial

sanction on lawyers or judges is needed. If the party is not right, such sanctions are unjust and

invite lawlessness.

                                          Conclusion

       Amici swore to uphold our system of justice. The Order threatens our system of justice,

and the rule of law itself, for each of the reasons outlined above. The Court’s ruling enjoining

enforcement of the Order was proper and indeed necessary. The Court’s ruling should be entered

as a final judgment.

       RESPECTFULLY SUBMITTED this 4th day of April, 2025.


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                                NOTICE OF COMPLIANCE

       Pursuant to LCvR 7(o), I hereby certify that this brief conforms to the requirements of

LCvR 5.4, complies with the requirements set forth in Fed. R. App. P. 29(a)(4), and does not

exceed 25 pages in length.

       DATED this 4th day of April, 2025.


                                            /s/ Donald Falk
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2025, I electronically filed the original of this brief with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

attorneys of record by operation of the Court’s electronic filing system.


                                               /s/ Sara Kropf
                                               Sara Kropf




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                                           EXHIBIT A

1.    Judge Verna S. Adams,
      California Superior Court, Marin County (Ret.)

2.    Judge Patricia Aitken,
      Washington Superior Court, King County (Ret.)

3.    Judge Elsa Alcala,
      Texas Court of Criminal Appeals (Ret.)

4.    Judge Lesley A. Allan,
      Washington Superior Court, Chelan County (Ret.)

5.    Judge Lisa Van Amburg,
      Missouri Eastern District Court of Appeals (Ret.)

6.    Chief Justice Jeffrey L. Amestoy,
      Vermont Supreme Court (Ret.)

7.    Judge Elaine M. Andrews,
      Alaska Superior Court, Third District (Ret.)

8.    Judge Beth Andrus,
      Washington Superior Court, King County (Ret.)

9.    Judge Marlin J. Appelwick,
      Washington State Court of Appeals, Division I (Ret.)

10.   Judge Stephanie A. Arend,
      Washington Superior Court, Pierce County (Ret.)

11.   Associate Justice Richard M. Aronson,
      California Court of Appeal, Fourth District (Ret.)

12.   Judge Sharon S. Armstrong,
      Washington Superior Court, King County (Ret.)

13.   Judge Nancy J. Arnold,
      Illinois Circuit Court, Cook County (Ret.)

14.   Magistrate Judge Mark E. Aspey,
      United States District Court, District of Arizona (Ret.)

15.   Judge Steven K. Austin,
      California Superior Court, Contra Costa County (Ret.)




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16.   Judge Monica Bachner,
      California Superior Court, County of Los Angeles (Ret.)

17.   Chief Justice W. Scott Bales,
      Arizona Supreme Court (Ret.)

18.   Judge Barry Baskin,
      California Superior Court, Contra Costa County (Ret.)

19.   Judge Paul A. Bastine,
      Washington Superior Court, Spokane County (Ret.)

20.   Chief Judge Mary Kay Becker,
      Washington State Court of Appeals, Division One (Ret.)

21.   Judge Martha Beckwith,
      Alaska State District Court (Ret.)

22.   Justice William Bedsworth,
      California Court of Appeal, Fourth District (Ret.)

23.   Justice Gina Benavides,
      Texas Thirteenth Court of Appeals (Ret.)

24.   Chief Justice Rebecca White Berch,
      Arizona Supreme Court (Ret.)

25.   Judge Aviva K. Bobb,
      California Superior Court, County of Los Angeles (Ret.)

26.   Associate Justice Margot Botsford,
      Massachusetts Supreme Judicial Court (Ret.)

27.   Magistrate Judge E. Thomas Boyle,
      United States District Court, Eastern District of New York (Ret.)

28.   Justice Richard F. Braun,
      New York Supreme Court, New York County (Ret.)

29.   Associate Justice Bobbe Bridge,
      Washington Supreme Court (Ret.)

30.   Judge Harold M. Brown,
      Alaska Superior Court, Third District (Ret.)

31.   Magistrate Judge Geraldine Soat Brown,
      United States District Court, Northern District of Illinois (Ret.)




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32.   Associate Justice Brian L. Burgess,
      Vermont Supreme Court (Ret.)

33.   Judge A. Franklin Burgess, Jr.,
      Superior Court, District of Columbia (Ret.)

34.   Magistrate Judge Michelle Burns,
      United States District Court, District of Arizona (Ret.)

35.   Frederick H. Bysshe, Jr.,
      California Superior Court, Ventura County (Ret.)

36.   Judge Regina S. Cahan,
      Washington Superior Court, King County (Ret.)

37.   Judge William Cahill,
      California Superior Court, County of San Francisco (Ret.)

38.   Chief Justice Walter L. Carpeneti,
      Supreme Court of Alaska (Ret.)

39.   Judge Wynne S. Carvill,
      California Superior Court, Alameda County (Ret.)

40.   Judge Paula Casey,
      Washington Superior Court, Thurston County (Ret.)

41.   Judge Ronald L. Castleberry,
      Washington Superior Court, Snohomish County (Ret.)

42.   Judge Patrick A. Cathcart,
      California Superior Court, County of Los Angeles (Ret.)

43.   Judge Katherine Chilton,
      California Superior Court, County of Los Angeles (Ret.)

44.   Judge Vickie I. Churchill,
      Washington Superior Court, Island County (Ret.)

45.   Judge Robert James Cindrich,
      United States District Court, Western District of Pennsylvania (Ret.)

46.   Judge Harold D. Clark III,
      Washington Superior Court, Spokane County (Ret.)

47.   Judge U. W. Clemon,
      United States District Court, Northern District of Alabama (Ret.)




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48.   Judge Harriett M. Cody,
      Washington Superior Court, King County (Ret.)

49.   Judge Isabel R. Cohen,
      California Superior Court, County of Los Angeles (Ret.)

50.   Judge Bruce W. Cohoe,
      Washington Superior Court, Pierce County (Ret.)

51.   Acting Justice Ellen M. Coin,
      New York Supreme Court, New York County (Ret.)

52.   Judge Scott Collier,
      Washington Superior Court, Clark County (Ret.)

53.   Judge Patricia A. Collins,
      Alaska Superior Court, First District (Ret.)

54.   Judge Karen Conoley,
      Washington Superior Court, Kitsap County (Ret.)

55.   Chief Justice Dori Contreras,
      Texas Thirteenth District Court of Appeals (Ret.)

56.   Judge Ronald E. Cox,
      Washington State Court of Appeals (Ret.)

57.   Senior Associate Justice Stephen G. Crane,
      New York Supreme Court, New York County (Ret.)

58.   Judge James Crockett,
      United States District Court, District of Nevada (Ret.)

59.   Judge Denise Navarre Cubbon,
      Court of Common Pleas, Juvenile Division, Lucas County, Ohio (Ret.)

60.   Judge Ron Culpepper,
      Washington Superior Court, Pierce County (Ret.)

61.   Justice Brian S. Currey,
      California Court of Appeals, Second Appellate District (Ret.)

62.   Judge Beverly W. Cutler,
      Alaska State Superior Court, Third District (Ret.)

63.   Judge Frank E. Cuthbertson,
      Washington Superior Court, Pierce County (Ret.)




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64.   Justice Carolyn Demarest,
      New York Supreme Court, Kings County (Ret.)

65.   Magistrate Judge Morton Denlow,
      United States District Court, Northern District of Illinois (Ret.)

66.   Chief Justice Laura Denvir Stith,
      Supreme Court of Missouri (Ret.)

67.   Magistrate Judge Michael Dolinger,
      United States District Court, Southern District of New York (Ret.)

68.   Justice Robert L. Dondero,
      California Court of Appeal, First Appellate District (Ret.)

69.   Judge Faye D’Opal,
      California Superior Court, Marin County (Ret.)

70.   Judge Barbara A. Dortch-Okara,
      Massachusetts Superior Court (Ret.)

71.   Judge Michael Downes,
      Washington Superior Court, Snohomish County (Ret.)

72.   Presiding Disciplinary Judge Margaret H. Downie,
      Arizona Court of Appeals (Ret.)

73.   Judge William L. Downing,
      Washington Superior Court, King County (Ret.)

74.   Judge Theresa Doyle,
      Washington Superior Court, King County (Ret.)

75.   Judge David R. Draper,
      Washington Superior Court, Lewis County (Ret.)

76.   Judge Roger W. DuBrock,
      Alaska State Superior Court, First District (Ret.)

77.   Judge Bonnie Dumanis,
      California Superior Court, San Diego County (Ret.)

78.   Judge Sally Duncan,
      Arizona Superior Court (Ret.)

79.   Magistrate Judge David Duncan,
      United States District Court, District of Arizona (Ret.)




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80.   Judge Lynn Duryee,
      California Superior Court, Marin County (Ret.)

81.   Judge Tari S. Eitzen,
      Washington Superior Court, Spokane County (Ret.)

82.   Justice Betty Weinberg Ellerin,
      New York State Supreme Court Appellate Division, First Department (Ret.)

83.   Judge Janice E. Ellis,
      Washington Superior Court, Snohomish County (Ret.)

84.   Chief Judge Philip Espinosa,
      Arizona Court of Appeals (Ret.)

85.   Judge John P. Erlick,
      Washington Superior Court, King County (Ret.)

86.   Justice Saralee Evans,
      New York Supreme Court, New York County (Ret.)

87.   Magistrate Judge John M. Facciola,
      United States District Court, District of Columbia (Ret.)

88.   Judge Ellen J. Fair,
      Washington Superior Court, Snohomish County (Ret.)

89.   Judge Douglas J. Fair,
      Washington Superior Court, Snohomish County (Ret.)

90.   Judge Gary A. Feess,
      United States District Court, Central District of California (Ret.)

91.   Chief Justice Stanley G. Feldman,
      Arizona Supreme Court (Ret.)

92.   Judge Thomas J. Felnagle,
      Washington Superior Court, Pierce County (Ret)

93.   Judge Noel Fidel,
      Arizona Court of Appeals (Ret.)

94.   Judge Deborah Fleck,
      Washington Superior Court, King County (Ret.)

95.   Judge Lisa Daniel Flores,
      Arizona Superior Court, Maricopa County (Ret.)




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96.   Judge Jeremy D. Fogel,
      United States District Court, Northern District of California (Ret.)

97.   Judge Michael J. Fox,
      Washington Superior Court, King County (Ret.)

98.   Judge George Finkle,
      Washington Superior Court, King County (Ret.)

99.   Magistrate Judge James C. Francis IV,
      United States District Court, Southern District of New York (Ret.)

100. Judge David Frazier,
     Washington Superior Court, Whitman County (Ret.)

101. Associate Justice Helen Freedman,
     New York Supreme Court, Appellate Division (Ret.)

102. Judge Robert B. Freedman,
     California Superior Court, Alameda County (Ret.)

103. Chief Justice Stanley G. Feldman,
     Arizona Supreme Court (Ret.)

104. Judge Edward Fleisher,
     Washington Court of Appeals, Division Two (Ret.)

105. Judge Francisco Firmat,
     California Superior Court, Orange County (Ret.)

106. Justice Marcy Friedman,
     New York Supreme Court, New York County (Ret.)

107. Judge Terry Friedman,
     California Superior Court, County of Los Angeles (Ret.)

108. Judge Kenneth Fields,
     Arizona Superior Court, Maricopa County (Ret.)

109. Judge Julia L. Garratt,
     Washington Superior Court, King County (Ret.)

110. Judge Deborra Garrett,
     Washington Superior Court, Whatcom County (Ret.)

111. Judge David George,
     Alaska Superior Court, First District (Ret.)




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112. Judge Rudolph J. Gerber,
     Arizona Court of Appeals (Ret.)

113. Judge Timothy C. Gerking,
     Circuit Court of Oregon, Jackson County (Ret.)

114. Judge Nancy Gertner,
     United States District Court, District of Massachusetts (Ret.)

115. Judge Harvey Giss,
     California Superior Court, County of Los Angeles (Ret.)

116. Magistrate Judge Marilyn Go,
     United States District Court, Eastern District of New York (Ret.)

117. Magistrate Judge Steven M. Gold,
     United States District Court, Eastern District of New York (Ret.)

118. Judge A. Benjamin Goldgar,
     United States Bankruptcy Court, Northern District of Illinois (Ret.)

119. Chief Judge Irma E. Gonzalez,
     United States District Court, Southern District of California (Ret.)

120. Justice Emily Jane Goodman,
     New York State Supreme Court, New York County (Ret.)

121. Judge Dianna Gould-Saltman,
     California Superior Court, County of Los Angeles (Ret.)

122. Judge Ernestine S. Gray,
     Orleans Parish Juvenile Court (Ret.)

123. Judge Karen F. Green,
     Massachusetts Superior Court (Ret.)

124. Chief Justice Mark V. Green,
     Massachusetts Appeals Court (Ret.)

125. Judge Paul W. Grimm,
     United States District Court, District of Maryland (Ret.)

126. Judge Andrew Guilford,
     United States District Court, Central District of California (Ret.)

127. Judge Ina Gyemant,
     California Superior Court, County of San Francisco (Ret.)




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128. Judge Laura W. Halgren,
     California Superior Court, San Diego County (Ret.)

129. Associate Justice L. Priscilla Hall,
     New York Supreme Court, Appellate Division, Second Department (Ret.)

130. Judge Howard Lee Halm,
     California Superior Court, County of Los Angeles (Ret.)

131. Judge Brenda Harbin-Forte,
     California Superior Court, Alameda County (Ret)

132. Judge Michael Hayden,
     Washington Superior Court, King County (Ret.)

133. Judge Michael Heavey,
     Washington Superior Court, King County (Ret.)

134. Judge Brook Hedge,
     Superior Court, District of Columbia (Ret.)

135. Judge Thelton E. Henderson,
     United States District Court, Northern District of California (Ret.)

136. Judge Bethany G. Hicks,
     Arizona Superior Court, Maricopa County (Ret.)

137. Justice Gary Hicks,
     New Hampshire Supreme Court (Ret.)

138. Judge Joe W. Hilberman,
     California Superior Court, County of Los Angeles (Ret.)

139. Judge Bruce Hilyer,
     Washington Superior Court, King County (Ret.)

140. Associate Justice Geraldine S. Hines,
     Massachusetts Supreme Judicial Court (Ret.)

141. Judge Margaret R. Hinkle,
     Massachusetts Superior Court (Ret.)

142. Judge Anne Hirsch,
     Washington Superior Court, Thurston County (Ret.)

143. Judge Vicki L. Hogan,
     Washington Superior Court, Pierce County (Ret.)




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144. Judge Amy D. Hogue,
     California Superior Court, County of Los Angeles (Ret.)

145. Judge Sven Erik Holmes,
     United States District Court, Northern District of Oklahoma (Ret.)

146. Judge Richard J. Holwell,
     United States District Court, Southern District of New York (Ret.)

147. Judge Joseph W. Howard,
     Arizona Court of Appeals, Division Two (Ret.)

148. Justice Robin Hudson,
     Supreme Court of North Carolina (Ret.)

149. Judge J. Robin Hunt,
     Washington Court of Appeals, Division Two (Ret.)

150. Justice Raymond J. Ikola,
     California Court of Appeal, Fourth Appellate District (Ret.)

151. Judge Laura Inveen,
     Washington Superior Court, King County (Ret.)

152. Justice Faith Ireland,
     Washington State Supreme Court (Ret.)

153. Judge Patrick Irvine,
     Arizona Court of Appeals, Division One (Ret.)

154. Judge Susan E. Isacoff,
     California Superior Court, County of Los Angeles (Ret.)

155. Justice Melissa C. Jackson,
     New York Supreme Court, New York County (Ret.)

156. Magistrate Judge Maria-Elena James,
     United States District Court, Northern District of California (Ret.)

157. Justice Barbara Jaffe,
     New York Supreme Court, New York County (Ret.)

158. Judge D. Lowell Jensen,
     United States District Court, Northern District of California (Ret.)

159. Judge Barbara D. Johnson,
     Washington Superior Court, Clark County (Ret.)




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160. Justice Earl Johnson,
     California Court of Appeals, Second Appellate District (Ret.)

161. Judge Ann I. Jones,
     California Superior Court, County of Los Angeles (Ret.)

162. Chief Judge John Jones,
     United States District Court, Middle District of Pennsylvania (Ret.)

163. Associate Justice Marcy L. Kahn,
     New York Supreme Court, Appellate Division (Ret.)

164. Senior Judge Henry Kantor,
     Oregon Circuit Court, Multnomah County (Ret.)

165. Magistrate Judge Theodore H. Katz,
     United States District Court, Southern District of New York (Ret.)

166. Judge Stephen Kaus,
     California Superior Court, County of Alameda (Ret.)

167. Judge Ann O’Regan Keary,
     Superior Court, District of Columbia (Ret.)

168. Judge Gregory Keosian,
     California Superior Court, County of Los Angeles (Ret.)

169. Judge Donn Kessler,
     Arizona Court of Appeals (Ret.)

170. Judge Ronald Kessler,
     Washington Superior Court, King County (Ret.)

171. Judge Steven J. Kleifield,
     California Superior Court, County of Los Angeles (Ret.)

172. Judge Andrew G. Klein,
     Arizona Superior Court, Maricopa County (Ret.)

173. Judge Clifford L. Klein,
     California Superior Court, County of Los Angeles (Ret.)

174. Judge James P. Kleinberg,
     California Superior Court, County of Santa Clara (Ret.)

175. Justice Shirley Werner Kornreich,
     New York Supreme Court, New York County (Ret.)




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176. Judge Kevin M. Korsmo,
     Washington Court of Appeals, Division III (Ret.)

177. Judge Diane M. Kottmyer,
     Massachusetts Superior Court (Ret.)

178. Judge Linda C. Krese,
     Washington Superior Court, Snohomish County (Ret.)

179. Judge Michael S. Kupersmith,
     Vermont Superior Court (Ret.)

180. Judge David A. Kurtz,
     Washington Superior Court, Snohomish County (Ret.)

181. Associate Justice James R. Lambden,
     California Court of Appeal, First Appellate District (Ret.)

182. Judge Leslie G. Landau,
     California Superior Court, Contra Costa County (Ret.)

183. Judge Harriet Lansing,
     Minnesota Court of Appeals (Ret.)

184. Magistrate Judge Elizabeth D. Laporte,
     United States District Court, Northern District of California (Ret.)

185. Magistrate Judge James Larson,
     United States District Court, Northern District of California (Ret.)

186. Judge Michael Latin,
     California Superior Court, County of Los Angeles (Ret.)

187. Judge James W. Lawler,
     Washington Superior Court, Lewis County (Ret.)

188. Judge Linda Lau,
     Washington Court of Appeals, Division One (Ret.)

189. Judge J. Kathleen Learned,
     Washington Superior Court, King County (Ret.)

190. Judge Steve Leben,
     Kansas Court of Appeals (Ret.)

191. Judge Richard A. Levie,
     Superior Court, District of Columbia (Ret.)




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192. Judge Keith B. Levy,
     Alaska Superior Court, First District (Ret.)

193. Judge Michael Linfield,
     California Superior Court, County of Los Angeles (Ret.)

194. Judge John W. Lohrmann,
     Washington Superior Court, Walla Walla County (Ret.)

195. Judge Jose M. Lopez,
     Superior Court, District of Columbia (Ret.)

196. Judge Susan Lopez-Giss,
     California Superior Court, County of Los Angeles (Ret.)

197. Judge Jackson Lucky,
     California Superior Court, Riverside County (Ret.)

198. Judge J. Michael Luttig,
     United States Court of Appeals, Fourth Circuit (Ret.)

199. Judge Richard Lyman,
     California Superior Court, County of Los Angeles (Ret.)

200. Magistrate Judge Frank Maas,
     United States District Court, Southern District of New York (Ret.)

201. Judge Barbara Mack,
     Washington Superior Court, King County (Ret.)

202. Justice Joan Madden,
     New York Supreme Court, New York County (Ret.)

203. Judge Bonnie MacLeod,
     Superior Court, Commonwealth of Massachusetts (Ret.)

204. Judge Judith Macaluso,
     Superior Court, District of Columbia (Ret.)

205. Judge Barbara Mack,
     Washington Superior Court, King County (Ret.)

206. Judge Patrick Mahoney,
     California Superior Court, County of San Francisco (Ret.)

207. Judge M. Kathleen Manley,
     Vermont Superior Court (Ret.)




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208. Chief Magistrate Judge Roanne L. Mann,
     United States District Court, Eastern District of New York (Ret.)

209. Judge Linda S. Marks,
     California Superior Court, County of Los Angeles (Ret.)

210. Judge Marc Marmaro,
     California Superior Court, County of Los Angeles (Ret.)

211. Judge Susan Finlay Marrinan,
     California Superior Court, San Diego County (Ret.)

212. Justice Mary Anne Mason,
     Illinois Appellate Court, First District (Ret.)

213. Judge A. Howard Matz,
     United States District Court, Central District of California (Ret.)

214. Justice Angela M. Mazzarelli,
     New York Supreme Court, Appellate Division (Ret.)

215. Justice Mary McGowan Davis,
     New York Supreme Court, New York County (Ret.)

216. Chief Justice Ruth McGregor,
     Arizona Supreme Court (Ret.)

217. Judge James F. McHugh,
     Massachusetts Appeals Court (Ret.)

218. Judge Larry E. McKeeman,
     Washington Superior Court, Snohomish County (Ret.)

219. Judge E. Anne McKinsey,
     Fourth Judicial District, Minnesota (Ret.)

220. Judge Thomas McPhee,
     Washington Superior Court, Thurston County (Ret.)

221. Justice Chuck McRae,
     Mississippi Supreme Court (Ret.)

222. Judge Christopher Melly,
     Washington Superior Court, Clallam County (Ret.)

223. Judge Louis James Menendez,
     Alaska Superior Court, First District (Ret.)




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224. Judge John M. Meyer,
     Washington Superior Court, Skagit County (Ret.)

225. Judge Bruce E. Meyerson,
     Arizona Court of Appeals (Ret.)

226. Judge Paul R. Michel,
     United States Court of Appeals, Federal Circuit (Ret.)

227. Judge Laura Gene Middaugh,
     Washington Superior Court, King County (Ret.)

228. Judge Stephen Milliken,
     Superior Court, District of Columbia (Ret.)

229. Judge Rita Miller,
     California Superior Court, County of Los Angeles (Ret.)

230. Judge Leila Mills,
     Washington Superior Court, Kitsap County (Ret.)

231. Judge Walter M. Morris, Jr.,
     Vermont Superior Court (Ret.)

232. Justice Karla Moskowitz,
     New York Supreme Court, Appellate Division (Ret.)

233. Judge John M. Mott,
     Superior Court, District of Columbia (Ret.)

234. Judge Diana Gribbon Motz,
     United States Court of Appeals for the Fourth Circuit (Ret.)

235. Justice Mary Muehlen Maring,
     North Dakota Supreme Court (Ret.)

236. Judge Karen A. Mullins,
     Arizona Superior Court, Maricopa County (Ret.)

237. Judge Thomas G. Nave,
     Alaska Superior Court, First District (Ret.)

238. Judge Kathryn J. Nelson,
     Washington Superior Court, Pierce County (Ret.)

239. Judge Leslie C. Nichols,
     California Superior Court, County of Santa Clara (Ret.)




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240. Judge William Ward Nooter,
     Superior Court, District of Columbia (Ret.)

241. Judge Patricia K. Norris,
     Arizona Court of Appeals (Ret.)

242. Judge Rita M. Novak,
     Circuit Court, Cook County, Illinois (Ret.)

243. Justice Michael J. Obus,
     New York Supreme Court, New York County (Ret.)

244. Judge Kathleen M. O’Connor,
     Washington Superior Court, Spokane County (Ret.)

245. Judge Margaret L. Oldendorf,
     California Superior Court, County of Los Angeles (Ret.)

246. Judge Rafael Ongkeko,
     California Superior Court, County of Los Angeles (Ret.)

247. Judge Kathleen M. O’Malley,
     United States Court of Appeals, Federal Circuit (Ret.)

248. Magistrate Judge James Orenstein,
     United States District Court, Eastern District of New York (Ret.)

249. Judge James Orlando,
     Washington Superior Court, Pierce County (Ret.)

250. Judge Patricia A. Orozco,
     Arizona Court of Appeals (Ret.)

251. Judge Gary Oxenhandler,
     Missouri Circuit Court (Ret.)

252. Judge Philip Pallenberg,
     Alaska Superior Court, First District (Ret.)

253. Judge Cecil Patterson,
     Arizona Court of Appeals (Ret.)

254. Justice John Pelander,
     Arizona Supreme Court (Ret.)

255. Justice Dennis Perluss,
     California Court of Appeal, Second Appellate District (Ret.)




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256. Judge Victor H. Persón
     California Superior Court, County of Los Angeles (Ret.)

257. Judge Layn R. Phillips,
     United States District Court, Western District of Oklahoma (Ret.)

258. Judge Dean B. Pineles,
     Vermont District Court (Ret.)

259. Judge Burt Pines,
     California Superior Court, County of Los Angeles (Ret.)

260. Magistrate Judge Henry Pitman,
     United States District Court, Southern District of New York (Ret.)

261. Magistrate Judge Viktor Pohorelsky,
     United States District Court, Eastern District of New York (Ret.)

262. Justice M. Carol Pope,
     Illinois Appellate Court, Fourth District (Ret.)

263. Judge Maurice Portley,
     Arizona Court of Appeals (Ret.)

264. Judge Stephen M. Pulido,
     California Superior Court, Alameda County (Ret.)

265. Judge Linda B. Quinn,
     California Superior Court, San Diego County (Ret.)

266. Judge Jeffrey M. Ramsdell,
     Washington Superior Court, King County (Ret.)

267. Judge Judith H. Ramseyer,
     Washington Superior Court, King County (Ret.)

268. Judge Ronald Reinstein,
     Arizona Superior Court, Maricopa County (Ret.)

269. Judge Judith E. Retchin,
     District of Columbia Superior Court (Ret.)

270. Justice Rosalyn Richter,
     New York Supreme Court, Appellate Division, First Department (Ret.)

271. Justice Maria Rivera,
     California Court of Appeal, First Appellate District (Ret.)




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272. Justice Nelda Rodriguez,
     Thirteenth Court of Appeals in Texas (Ret.)

273. Judge Palmer Robinson,
     Washington Superior Court, King County (Ret.)

274. Judge Erik Rohrer,
     Washington Superior Court, Clallam County (Ret.)

275. Judge Jay B. Roof,
     Washington Superior Court, Kitsap County (Ret.)

276. Judge John Romero,
     New Mexico District Court, Bernalillo County (Ret.)

277. Judge David A. Rosen,
     California Superior Court, County of Los Angeles (Ret.)

278. Judge Michelle R. Rosenblatt,
     California Superior Court, County of Los Angeles (Ret.)

279. Chief Justice Barbara J. Rouse,
     Massachusetts Superior Court (Ret.)

280. Judge Judith M. Ryan,
     California Superior Court, Orange County (Ret.)

281. Judge Glenda Sanders,
     California Superior Court, Orange County (Ret.)

282. Judge Carol Schapira,
     Washington Superior Court, King County (Ret.)

283. Judge Shira A. Scheindlin,
     United States District Court, Southern District of New York (Ret.)

284. Justice Alice Schlesinger,
     New York Supreme Court, New York County (Ret.)

285. Judge Ann Schindler,
     Washington Court of Appeals, Division I (Ret.)

286. Judge Barry C. Schneider,
     Arizona Superior Court, Maricopa County (Ret.)

287. Judge Karen G. Seinfeld,
     Washington State Court of Appeals, Division Two (Ret.)




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288. Judge Susan K. Serko,
     Washington Superior Court, Pierce County (Ret.)

289. Judge Hon. Margaret Seymour,
     United States District Court, District of South Carolina (Ret.)

290. Judge Catherine Shaffer,
     Washington Superior Court, King County (Ret.)

291. Judge Booker T. Shaw,
     Missouri Court of Appeals (Ret.)

292. Judge Nan R. Shuker,
     Superior Court, District of Columbia (Ret.)

293. Justice Jacqueline W. Silbermann,
     New York Supreme Court, New York County (Ret.)

294. Judge B. Scott Silverman,
     California Superior Court, County of Los Angeles (Ret.)

295. Judge T. W. Small,
     Washington Superior Court, Chelan County (Ret.)

296. Judge Fern M. Smith,
     United States District Court, Northern District of California (Ret.)

297. Judge James Smith,
     Arizona Superior Court, Maricopa County (Ret.)

298. Judge Winifred Y. Smith,
     California Superior Court, Alameda County (Ret.)

299. Judge Charles R. Snyder,
     Washington Superior Court, Whatcom County (Ret.)

300. Justice Michael R. Sonberg,
     New York Supreme Court, New York County (Ret.)

301. Justice Sheila Sonenshine,
     California Court of Appeal, Fourth District (Ret.)

302. Judge Stephanie Sontag,
     California Superior Court, San Diego County (Ret.)

303. Judge Michael S. Spearman,
     Washington State Court of Appeals (Ret.)




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304. Judge Julie Spector,
     Washington Superior Court, King County (Ret.)

305. Judge Marjorie Steinberg,
     California Superior Court, County of Los Angeles (Ret.)

306. Judge Michael L. Stern,
     California Superior Court, County of Los Angeles (Ret.)

307. Judge John K. Stewart,
     California Superior Court, County of San Francisco (Ret.)

308. Judge James B. Sult,
     Arizona Court of Appeals, Division One (Ret.)

309. Judge Paul Suzuki,
     California Superior Court, County of Los Angeles (Ret.)

310. Chief Judge Peter B. Swann,
     Arizona Court of Appeals, Division One (Ret.)

311. Judge Dennis J. Sweeney,
     Washington State Court of Appeals, Division Three (Ret.)

312. Judge S. Brooke Taylor,
     Washington Superior Court, Clallam County (Ret.)

313. Judge Carolyn Engel Temin,
     Court of Common Pleas, 1st Judicial District of Pennsylvania (Ret.)

314. Chief Judge Philip E. Toci,
     Arizona Court of Appeals, Division One (Ret.)

315. Judge Helen M. Toor,
     Vermont Superior Court (Ret.)

316. Judge Fred Torrisi,
     Alaska Superior Court, First District (Ret.)

317. Judge Michael J. Trickey,
     Washington Superior Court and Court of Appeals, Div. I (Ret.)

318. Judge Kitty-Ann van Doorninck,
     Washington Superior Court, Pierce County (Ret.)

319. Judge Thomas I. Vanaskie,
     United State Court of Appeals, Third Circuit (Ret.)




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320. Judge Arthur W. Verharen,
     Washington Superior Court, Pierce County (Ret.)

321. Justice Miriam A. Vogel,
     California Court of Appeal, Second Appellate District (Ret.)

322. Judge Vaughn R. Walker,
     United States District Court, Northern District of California (Ret.)

323. Judge Art Wang,
     Washington State Court of Appeals (Ret.)

324. Judge Steve Warning,
     Washington Superior Court, Cowlitz County (Ret.)

325. Judge Anthony P. Wartnik,
     Washington Superior Court, King County (Ret.)

326. Judge Eugene R. Wedoff,
     United States Bankruptcy Court, Northern District of Illinois (Ret.)

327. Judge Kerry Wells,
     California Superior Court, San Diego County (Ret.)

328. Judge John P. Wesley,
     Vermont Superior Court (Ret.)

329. Chief Justice Michael A. Wolff,
     Missouri Supreme Court (Ret.)

330. Judge Beverly K. Wood,
     California Superior Court, Marin County (Ret.)

331. Judge Margie G. Woods,
     California Superior Court, San Diego County (Ret.)

332. Judge Elizabeth Allen White,
     California Superior Court, County of Los Angeles (Ret.)

333. Judge Vanessa H. White,
     Alaska Superior Court, Third District (Ret.)

334. Judge Jay V. White,
     Washington Superior Court, King County (Ret.)

335. Judge H. Christopher Wickham,
     Washington Superior Court, Thurston County (Ret.)




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336. Justice Thomas L. Willhite, Jr.,
     California Court of Appeal, Second Appellate District (Ret.)

337. Judge Ken Williams,
     Washington Superior Court, Clallam County (Ret.)

338. Judge Jeffrey Winikow,
     California Superior Court, County of Los Angeles (Ret.)

339. Judge Lawrence F. Winthrop,
     Arizona Court of Appeals, Division One (Ret.)

340. Judge Thomas J. Wynne,
     Washington Superior Court, Snohomish County (Ret.)

341. Senior Justice Reyna Yanez,
     Texas Thirteenth District Court of Appeals (Ret.)

342. Justice Laurie Zelon,
     California Court of Appeal, Second Appellate District (Ret.)

343. Judge Larry Zervos,
     Alaska Superior Court, Fourth District (Ret.)

344. Justice Michael D. Zimmerman,
     Utah Supreme Court (Ret.)

345. Justice Thomas A. Zlakat,
     Arizona Supreme Court (Ret.)

346. Associate Justice Hiller B. Zobel,
     Superior Court of Massachusetts (Ret.)




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